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     From:          Marcia Lamarque on behalf of Kristina Pett
     To:            "Craig Greene"; dbirchall@kramergreen.com; Joanne Napoli; Jeanette Bellon
     Cc:            Danielle Shure; Marcia Lamarque
     Subject:       Digna Vinas v. Foresters
     Date:          Friday, March 20, 2020 10:27:39 AM
     Attachments:   image006.png
                    image001.png
                    image004.png



    Hi Craig, our responses are below in red text, highlighted in green. We tried to clarify which
    issues were relevant to your specific responses:



    We are writing to confer regarding your written discovery responses, which are largely non-
    responsive and insufficient.

    An issue that seems to pervade all of your responses is the appropriate scope of discovery.
    You appear to contend that Mr. Vinas’s medical history, besides diabetes and kidney/sensory
    issues secondary to diabetes, are not relevant and that Foresters is not entitled to such
    information/documents. None of your cases address this issue. If you have a case that
    expressly holds that in a rescission action, discovery is limited to documents pertaining the
    specific condition which was misrepresented, please share and we will review. Otherwise,
    Florida law does not limit discovery in the manner you suggest. This is especially true where,
    as here, the rescission letter reserves the right to consider the accuracy of all representations
    in the application based on information Foresters discovers at a later date. Because there is
    no contrary authority, we ask that you revise all of your responses based on the understanding
    that we are not limited to information regarding Mr. Vinas’s diabetes and secondary
    symptoms/conditions. This general issue pervades all of your responses, including ROGS 5 and
    6, RFP 4, 5, 6.



    Our objections are based upon the scope of the claims and defenses presently plead as
    applied to Federal law. We cited you the authority we rely upon. Do you have any authority
    that says you are entitled to go beyond what your CR testified was sufficient for Foresters to
    make its decision? If so, please advise and I will immediately consider it. As the party
    objecting to our discovery request, you have the initial burden of substantiating your
    objection. Haiser v. MSC Cruises, S.A., No. 18-60964-CIV-DIMITROULEAS/SNOW, 2019 WL
    1388641 (S.D. Fla. Jan. 31, 2019) (“The discovery respondent bears the burden of establishing
    lack of relevancy or some other basis for resisting production. After a properly stated
    objection is presented,” the proponent must prove relevance) (emphasis added).

    To the extent you denied our requests for admission regarding the questions in the
    application based on what Mr. Vinas was “told,” you have not answered the questions. We
    asked about diagnoses – not what Mr. Vinas was told. Also, Plaintiff claims that she did not go
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    to a single appointment with Mr. Vinas, yet simultaneously claims she knows everything he
    was told. These answers are inconsistent.

    The problem is that you do not explain what you mean by “diagnosed.” As far as Mrs. Vinas is
    concerned, her husband was not diagnosed with the conditions you asked about as he was
    never told about any such conditions. As such, she answered the RA by denying it
    appropriately and provided an explanation as required by the rules. From our discussions at
    the deposition, however, I think I know the point you are trying to get at. If you would like to
    clarify the request to ask Mrs. Vinas to admit that Dr. Hershman’s medical records contain
    several Billing Codes that reference the conditions you asked about under the heading of
    “Assessment” I will check with her to be certain, but feel confident that would be unopposed.
    We disagree. “Diagnosed” is an unambiguous term that does not require further explanation.
    This also applies to RFP 8, RFA 1, 3, 4, and 5.

    Additionally, your answers to RFAS 2, 6, and 7 do not appear to be correct. Your responses
    denying that Mr. Vinas answered application questions negatively are belied by the face of the
    application.

    Further, we ask that you revise your response to ROG 21 regarding your allegation that Mr.
    Vinas’s misrepresentations were not material, and ROG 22 regarding the basis of your
    allegation that Foresters misapplied Florida law. Simply pointing us to documents and
    deposition transcripts, without any further clarification, is non-responsive.

    We disagree. Despite the fact your interrogatory expressly asks us to explain our legal
    strategy by explaining why you are legally wrong and therefore violates the WP privilege, we
    provided you an answer. Specifically, I directed you to the several hours of questioning with
    your CR going through the various reasons the alleged misrepresentations were not material
    both factually and under Florida law. You were there when your CR explained how the
    guidelines applied to Mr. Vinas’ medical records and concluded that but for one condition
    (that Mr. Vinas did not have), this policy should have been issues as “standard” and the claim
    paid. It was powerful testimony that directly responded to this interrogatory. I cannot
    espouse it any better than he did. As for 22, we objected in that you are expressly asking for
    our interpretation of the law as applied to these facts. Nothing could more directly request
    WP strategy. Nonetheless, I provided you the courtesy of an answer in that I went over this
    issue with your CR in detail. This also applies for RFP 17, 18, and 19. We are not asking for your
    legal theory. We are asking for the basis of the specified allegations. Generally pointing us to
    various documents and transcripts, without providing specific citations or additional
    explanation, is insufficient. Rodriguez v. Whitestone Grp., Inc., No. 12-23974-CIV-
    UNGARO/TORRES, 2013 WL 12064494 (S.D. Fla. Mar. 22, 2013) (“[T]he answers provided
    referencing, without any specific citation or reference, general documents produced in
    discovery is clearly insufficient. Rule 33(d) is not intended to be used as a ‘procedural device
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    for avoiding the duty to give information.’”).

    Your response to ROG 15 is also insufficient. Plaintiff stated that Mr. Vinas did not have a
    disability policy, but ROG 15 asks whether Mr. Vinas applied for disability benefits with various
    institutions, including the SSA, and is not limited to insurance benefits.

    Answer 15 expressly adopted 14 and is clear that Mr. Vinas did not have SS disability. To the
    extent it will resolve the matter, however, I will ask Mrs. Vinas to expressly state that Mr.
    Vinas did not apply for or receive SSA Disability insurance. Please advise if that will clarify it
    sufficiently for you. Yes, please clarify that Mr. Vinas did not receive disability benefits of any
    kind, including all types referenced in the question, not just SS.

    Additionally, we disagree with your objections to our requests regarding life insurance policies
    issued which covered Mr. Vinas’s life. Plaintiff does not identify any policies, yet through the
    discovery process, we learned that US Life issued a life insurance policy insuring Mr. Vinas’s
    life. Plaintiff’s responses do not appear to be accurate.

    While you did not specify which interrogatories you are referring to, I re-read the answers to
    Interrogatories 11-13. If those are the interrogatories you are referring to, the objections and
    answers are accurate. We disagree with your objection that ROG 13 regarding whether
    Plaintiff applied for other life insurance benefits is irrelevant. It goes directly to her claim for
    consequential damages. We ask that you provide a response. Also with respect to RFPs 10
    and 11, we ask for copies of the Decedent’s application for life coverage, and any claim
    Plaintiff made.

    With respect to RFP 21 for all documents supporting your claim for consequential damages,
    we are not asking for your legal strategy. We are asking for documents that support your
    claim. For example, mortgage statements, notices from creditor, etc. The same holds true for
    RFP 22 (documents supporting Plaintiff’s claim).

    We disagree with your objection to our requests regarding prior court documents and
    statements that Plaintiff and the Decedent made under oath (RFPs 17, 18, and 19). Not only
    do we believe these documents will have information relevant to the issues in this case, but to
    the extent Plaintiff made statements under oath, this could serve as impeachment evidence at
    trial.

    We disagree. Other than the fact that your client is now fishing for new reasons to justify its
    actions after we established its denial was completely wrong, as phrased, your request has no
    limit on years, topic, subject matter or otherwise. A response to the RP as phrased would
    need to include a traffic hearing transcript from 25 years ago. All of this is apart from the
    compete irrelevance of the request as well as that fact you haven’t even identified any such
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    proceedings even exists. We stand by our response. We agree to narrow these requests to
    2010. However, we do not agree to limit in terms in terms of subject matter because we
    intend to use this information for impeachment in addition to fact gathering.

    Further, your responses to ROG 16 and 17 are insufficient. We asked you to describe and
    identify the communications Plaintiff or the Decedent had regarding the Application or the
    claim. Your responses do not identify the type of communication, the form of
    communication, the date or whether any documents were exchanged.

    I reviewed the responses. They are clear as to what communications were spoken and what
    was written. The question asks for specific dates, to the extent Plaintiff remembers. Further,
    with respect to ROG 16, you state that Lisa Buckland told Plaintiff she would get a letter.
    Please clarify whether you got such a letter and provide the date. Additionally, please identify
    any communications with Dr. Hershman regarding the letter he sent, and to or from the agent
    during the application process.

    Additionally, to the extent that you object to our discovery requests based on privilege, the
    Federal Rules require you to provide a privilege log. We request that you provide one as soon
    as possible, and certainly by the end of this week.

    As stated in the objections the WP objection is not based upon a particular document or
    documents. It is based upon the fact that you are asking us to reveal our mental strategy by
    identifying specific testimony, law, and evidence that we will use to prove our case. There is
    no privilege log to prepare. We are not seeking your legal strategy in any of our requests.
    That is, we are not asking you to apply specific facts to the law and make argument. In any
    event, if you are not withholding documents on this basis, there is no need to provide a log.

    I just responded individually to each of your specific concerns above, Now you just lumped a
    bunch of other discovery responses in one batch (green highlighted) with the intro
    “Specifically we take issue …” There is nothing specific about your description above, and we
    cannot respond to your general statement that you “take issue” with the responses. We
    attempted to specifically state our issues with your responses above.

    We also ask that you provide responsive documents, as none were produced with your
    responses. Notably, there appear to be records missing from the documents Plaintiff provided
    Foresters during the claim process. We ask that she provide all of the records she obtained
    from Dr. Hershman, including those she previously provided to Foresters.

    I checked with Mrs. Vinas before the filing the response. She provided you whatever the
    doctor put in the envelope that was mailed to your client. She has nothing else to provide and
    the response is therefore accurate. Obviously, we are not re-producing to you, documents
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    that you provided to us. The law in this Circuit requires you to produce responsive
    documents, regardless of whether those documents were provided during the administrative
    process. United States v. Kaman Precision Prods., Inc., No. 6:09-cv-1911-Orl-18GJK, 2010 WL
    11626637 (M.D. Fla. Aug. 13, 2010) (“[D]iscovery produced prior to this lawsuit is irrelevant.
    Thus, to the extent Defendant relies on the production pursuant to the administrative
    subpoena, Defendant’s response is insufficient and Defendant is directed to fully respond to
    the request for production in this case.”). If Plaintiff destroyed those documents, then you
    need to state as much in your response.



    We also request that you have Plaintiff complete the notarization form attached to the
    Interrogatories.

    Since we are required to confer under the Local Rules, let me know when you are available to
    discuss. I assume based on our most recent conversation that you are going to stand by your
    objections. If I am incorrect, please let me know. Otherwise, I plan to add these issues to the
    discovery hearing- assuming, of course, that we will still have a hearing in some fashion on
    March 27.

    Finally, Dr. Hershman advised us that he does not want to proceed with his deposition on
    March 25 due to the COVID-19 pandemic. He wants to reschedule the deposition to sometime
    in May which beyond the discovery deadline. Let us know your position as to continuing the
    deposition for a later date beyond the discovery deadline.

    I responded to the above three paragraphs on Tuesday.


    Kristina B. Pett
    Partner


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    Suite 400
    Boca Raton, FL 33431
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    From: Craig Greene <cgreene@kramergreen.com>
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    Sent: Thursday, March 19, 2020 10:17 AM
    To: Kristina Pett <kristina.pett@mhllp.com>; Dana Birchall <dbirchall@kramergreen.com>; Joanne
    Napoli <JNapoli@kramergreen.com>
    Cc: Danielle Shure <danielle.shure@mhllp.com>; Marcia Lamarque <marcia.lamarque@mhllp.com>;
    Jeanette Bellon <jbellon@kramergreen.com>
    Subject: RE: Digna Vinas v. Foresters

    Hi Tina,

    See highlight below for a point by point response.

    Naturally, if you have any questions, please feel free to contact me.

    Craig

                                          Craig M. Greene, Esq.
                                          CGreene@KramerGreen.com
                                          Office 954-966-2112
        WWW.KRAMERGREEN.COM
                                          Direct 954-362-3060
                                          Cell 954-290-4848 Fax 954-981-1605
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                                          Buchsbaum, P.A.
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                                          Hollywood, Florida 33021

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    From: Marcia Lamarque <marcia.lamarque@mhllp.com> On Behalf Of Kristina Pett
    Sent: Tuesday, March 17, 2020 10:44 AM
    To: Craig Greene <cgreene@kramergreen.com>; Dana Birchall <dbirchall@kramergreen.com>
    Cc: Danielle Shure <danielle.shure@mhllp.com>; Marcia Lamarque <marcia.lamarque@mhllp.com>
    Subject: Digna Vinas v. Foresters

    Hi Craig,

    We are writing to confer regarding your written discovery responses, which are largely non-
    responsive and insufficient.

    An issue that seems to pervade all of your responses is the appropriate scope of discovery. You
    appear to contend that Mr. Vinas’s medical history, besides diabetes and kidney/sensory issues
    secondary to diabetes, are not relevant and that Foresters is not entitled to such
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    information/documents. None of your cases address this issue. If you have a case that expressly
    holds that in a rescission action, discovery is limited to documents pertaining the specific condition
    which was misrepresented, please share and we will review. Otherwise, Florida law does not limit
    discovery in the manner you suggest. This is especially true where, as here, the rescission letter
    reserves the right to consider the accuracy of all representations in the application based on
    information Foresters discovers at a later date. Because there is no contrary authority, we ask that
    you revise all of your responses based on the understanding that we are not limited to information
    regarding Mr. Vinas’s diabetes and secondary symptoms/conditions. This general issue pervades all
    of your responses.

    Our objections are based upon the scope of the claims and defenses presently plead as
    applied to Federal law. We cited you the authority we rely upon. Do you have any authority
    that says you are entitled to go beyond what your CR testified was sufficient for Foresters to
    make its decision? If so, please advise and I will immediately consider it.

    To the extent you denied our requests for admission regarding the questions in the application
    based on what Mr. Vinas was “told,” you have not answered the questions. We asked about
    diagnoses – not what Mr. Vinas was told. Also, Plaintiff claims that she did not go to a single
    appointment with Mr. Vinas, yet simultaneously claims she knows everything he was told. These
    answers are inconsistent.

    The problem is that you do not explain what you mean by “diagnosed.” As far as Mrs. Vinas is
    concerned, her husband was not diagnosed with the conditions you asked about as he was
    never told about any such conditions. As such, she answered the RA by denying it
    appropriately and provided an explanation as required by the rules. From our discussions at
    the deposition, however, I think I know the point you are trying to get at. If you would like to
    clarify the request to ask Mrs. Vinas to admit that Dr. Hershman’s medical records contain
    several Billing Codes that reference the conditions you asked about under the heading of
    “Assessment” I will check with her to be certain, but feel confident that would be unopposed.

    Further, we ask that you revise your response to ROG 21 regarding your allegation that Mr. Vinas’s
    misrepresentations were not material, and ROG 22 regarding the basis of your allegation that
    Foresters misapplied Florida law. Simply pointing us to documents and deposition transcripts,
    without any further clarification, is non-responsive.

    We disagree. Despite the fact your interrogatory expressly asks us to explain our legal
    strategy by explaining why you are legally wrong and therefore violates the WP privilege, we
    provided you an answer. Specifically, I directed you to the several hours of questioning with
    your CR going through the various reasons the alleged misrepresentations were not material
    both factually and under Florida law. You were there when your CR explained how the
    guidelines applied to Mr. Vinas’ medical records and concluded that but for one condition
    (that Mr. Vinas did not have), this policy should have been issues as “standard” and the claim
    paid. It was powerful testimony that directly responded to this interrogatory. I cannot
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    espouse it any better than he did. As for 22, we objected in that you are expressly asking for
    our interpretation of the law as applied to these facts. Nothing could more directly request
    WP strategy. Nonetheless, I provided you the courtesy of an answer in that I went over this
    issue with your CR in detail.

    Your response to ROG 15 is also insufficient. Plaintiff stated that Mr. Vinas did not have a disability
    policy, but ROG 15 asks whether Mr. Vinas applied for disability benefits with various institutions,
    including the SSA, and is not limited to insurance benefits.

    Answer 15 expressly adopted 14 and is clear that Mr. Vinas did not have SS disability. To the
    extent it will resolve the matter, however, I will ask Mrs. Vinas to expressly state that Mr.
    Vinas did not apply for or receive SSA Disability insurance. Please advise if that will clarify it
    sufficiently for you.

    Additionally, we disagree with your objections to our requests regarding life insurance policies
    issued which covered Mr. Vinas’s life. Plaintiff does not identify any policies, yet through the
    discovery process, we learned that US Life issued a life insurance policy insuring Mr. Vinas’s life.
    Plaintiff’s responses do not appear to be accurate.

    While you did not specify which interrogatories you are referring to, I re-read the answers to
    Interrogatories 11-13. If those are the interrogatories you are referring to, the objections and
    answers are accurate.

    We disagree with your objection to our requests regarding prior court documents and statements
    that Plaintiff and the Decedent made under oath (RFPs 17, 18, and 19). Not only do we believe
    these documents will have information relevant to the issues in this case, but to the extent Plaintiff
    made statements under oath, this could serve as impeachment evidence at trial.

    We disagree. Other than the fact that your client is now fishing for new reasons to justify its
    actions after we established its denial was completely wrong, as phrased, your request has no
    limit on years, topic, subject matter or otherwise. A response to the RP as phrased would
    need to include a traffic hearing transcript from 25 years ago. All of this is apart from the
    compete irrelevance of the request as well as that fact you haven’t even identified any such
    proceedings even exists. We stand by our response.

    Further, your responses to ROG 16 and 17 are insufficient. We asked you to describe and identify
    the communications Plaintiff or the Decedent had regarding the Application or the claim. Your
    responses do not identify the type of communication, the form of communication, the date or
    whether any documents were exchanged.

    I reviewed the responses. They are clear as to what communications were spoken and what
    was written.
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    Additionally, to the extent that you object to our discovery requests based on privilege, the Federal
    Rules require you to provide a privilege log. We request that you provide one as soon as possible,
    and certainly by the end of this week.

    As stated in the objections the WP objection is not based upon a particular document or
    documents. It is based upon the fact that you are asking us to reveal our mental strategy by
    identifying specific testimony, law, and evidence that we will use to prove our case. There is
    no privilege log to prepare.

    Specifically, we take issue with the following responses:

    RFPs 2, 4, 5, 6, 8, 9, 10, 11, 12, 13, 15, 16, 17, 18, 19, 20,21, 22, 23.

    RFAs 1 – 7.

    ROGs 5, 6, 8, 11, 12, 13, 15, 16, 17, 21, 22.

    We expect you to revise, answer or supplement.

    I just responded individually to each of your specific concerns above, Now you just lumped a
    bunch of other discovery responses in one batch (green highlighted) with the intro
    “Specifically we take issue …” There is nothing specific about your description above, and we
    cannot respond to your general statement that you “take issue” with the responses.

    We also ask that you provide responsive documents, as none were produced with your responses.
    Notably, there appear to be records missing from the documents Plaintiff provided Foresters during
    the claim process. We ask that she provide all of the records she obtained from Dr. Hershman,
    including those she previously provided to Foresters.

    I checked with Mrs. Vinas before the filing the response. She provided you whatever the
    doctor put in the envelope that was mailed to your client. She has nothing else to provide and
    the response is therefore accurate. Obviously, we are not re-producing to you, documents
    that you provided to us.

    We also request that you have Plaintiff complete the notarization form attached to the
    Interrogatories.

    Since we are required to confer under the Local Rules, let me know when you are available to
    discuss. I assume based on our most recent conversation that you are going to stand by your
    objections. If I am incorrect, please let me know. Otherwise, I plan to add these issues to the
    discovery hearing- assuming, of course, that we will still have a hearing in some fashion on March 27.

    Finally, Dr. Hershman advised us that he does not want to proceed with his deposition on March 25
    due to the COVID-19 pandemic. He wants to reschedule the deposition to sometime in May which
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     beyond the discovery deadline. Let us know your position as to continuing the deposition for a later
     date beyond the discovery deadline.

     I responded to the above three paragraphs on Tuesday.


     Kristina B. Pett
     Partner



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